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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

NIVAGEN PHARMACEUT,

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Plaintiff,
ORDER
17 Civ. 7854 (GBD) (OTW)

-against-
FLAMINGO PHARMACEUTICALS, LTD.,

Defendant.

GEORGE B. DANIELS, United States District Judge:

This Court having been advised that the parties have reached a settlement in principle on
all issues in this matter, the Clerk of Court is hereby ORDERED to close the above-captioned
action, without prejudice to restoring the action to this Court’s docket if an application to restore

is made within sixty (60) days.

All conferences previously scheduled are adjourned sine die.

Dated: November 5, 2020
New York, New York

SO ORDERED.

CegRG . DANIELS
ed States District Judge

 
